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 1   Christopher B. Ghio (State Bar No. 259094)
     Christopher Celentino (State Bar No. 131688)
 2   Yosina M. Lissebeck (State Bar No. 201654)
     DINSMORE & SHOHL LLP
 3   655 West Broadway, Suite 800
     San Diego, CA 92101
 4   Telephone: 619.400.0500
     Facsimile: 619.400.0501
 5   christopher.ghio@dinsmore.com
     christopher.celentino@dinsmore.com
 6   yosina.lissebeck@dinsmore.com

 7 Proposed Special Counsel to Richard A. Marshack,
   Chapter 11 Trustee
 8

 9

10                            UNITED STATES BANKRUPTCY COURT

11                             CENTRAL DISTRICT OF CALIFORNIA

12                                      SANTA ANA DIVISION

13
                                                      Case No.: 8:23-bk-10571-SC
14 In re:
                                                      Chapter 11
15 THE LITIGATION PRACTICE GROUP P.C.,
                                                      SUPPLEMENTAL DECLARATION OF
16          Debtor.                                   RICHARD A. MARSHACK, CHAPTER 11
                                                      TRUSTEE PROVIDING COPY OF
17                                                    AMENDED NOTE AND STATUS OF
                                                      TRANSFER
18
                                                      Date: June 30, 2023
19                                                    Time: 12:30 p.m.
                                                      Judge: Hon. Scott C. Clarkson
20                                                    Place: Courtroom 5C
                                                             411 W. Fourth Street
21                                                           Santa Ana, CA 92701

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     #31083207v2
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 1                          DECLARATION OF RICHARD A. MARSHACK

 2 I, RICHARD A. MARSHACK, declare:

 3          1.     I am the Chapter 11 Trustee (“Trustee”) for the bankruptcy estate (“Estate”) of The

 4 Litigation Practice Group, P.C. (“Debtor”) in the above-captioned bankruptcy case (“Case”). As

 5 such, except as expressly stated otherwise, I have personal knowledge of the facts set forth below

 6 and could and would competently testify under oath thereto if requested to do so.

 7          2.     During a hearing held on June 30, 2023, the Court ordered that I submit a declaration

 8 with copies of the notes executed in favor of the initial lender (Resolution Ventures) and the

 9 replacement lender (Liberty Acquisitions Group, Inc.). Although the deadline to do so was by 5:00

10 p.m. on Monday, July 3, 2023, I filed the required declaration with the executed notes on June 30,

11 2023 (“Declaration”). See, Dk. No. 164.

12          3.     In the Declaration, I explained that Mr. Squires believed the $237,528.40 amount of

13 the note I executed in favor of Resolution Ventures did not fully account for all funds that had been

14 advanced. In fact, he acknowledged that he did not yet know the exact amount and was in the

15 process of identifying the precise figure. I thus advised the Court that I would work with him to

16 ensure that the full amount owed was reflected in an amended note. I have now reviewed documents

17 supporting the execution of an amended note in the amount of $249,663.98.

18          4.     Attached as Exhibit A is a copy of the executed amended note in the amount of

19 $249,663.98 (“First Amended Resolution Ventures Note”). I provided Mr. Squires with a copy of
20 the executed First Amended Resolution Ventures Note. This note supersedes and replaces all prior

21 notes, including the June 30, 2023, Note. This is now the only applicable note between the Estate

22 and Resolution Ventures.

23          5.     To the extent that Mr. Squires provides evidence that the amount owed is in fact

24 more then reflected in the First Amended Resolution Ventures Note, I will execute a further

25 amended note. I acknowledge that all amounts advanced by Mr. Squires through Resolution

26 Ventures in connection with the initial Court-approved borrowing are entitled to be reduced to a

27 note and will enjoy super-priority administrative status.

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 1          6.     At the conclusion of the hearing held on Friday, June 30, 2023, the Court also

 2 requested that my declaration advise the Court as to the status of the Estate receiving the additional

 3 loan from the replacement lender, Liberty Acquisitions Group, Inc. On June 30, 2023, the Estate

 4 received $500,000 of the $560,000 replacement loan by wire. All employees were paid today, July

 5 3, 2023. The additional $60,000 was paid by the replacement lender directly to insurance

 6 companies to cover premiums owed on employee health insurance.

 7          7.     The $249,663.98 amount owed to Mr. Squires as set forth in the First Amended

 8 Resolution Ventures Note is higher than the $240,000 described in the notice of non-material

 9 modification. To keep the total amount borrowed by the Estate at or below the $800,000.00

10 approved amount, I am in the process of returning the $9,663.98 difference to the replacement

11 lender, Liberty. Thus, a First Amended Liberty Note is attached as Exhibit B, in the amount of

12 $550,336.02. Should Mr. Squires provide additional proof of an amount owed in excess of that set

13 forth in the First Amended Resolution Ventures Note, I will similarly return a like amount to and

14 execute an amended note in favor of Liberty.

15          I declare under penalty of perjury under the laws of the United States of America that the

16 foregoing is true and correct.

17

18 DATED: July 3, 2023
                                                                Richard A. Marshack
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                               EXHIBIT A




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                               EXHIBIT B




                                                                          EXHIBIT B
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                                 AMENDED SUPER-PRIORITY
                                    PROMISSORY NOTE

 This super priority promissory note (“Note”) is made by and between Richard A. Marshack,
 Chapter 11 Trustee (“Trustee”) of THE LITIGATION PRACTICE GROUP P.C., (“Borrower” or
 “Estate”) in Bankruptcy Case No. 8:23-bk-10571-SC (“Bankruptcy Case”) currently pending in
 the Central District of California, Santa Ana Division (“Bankruptcy Court”) and Liberty
 Acquisitions Group, Inc. or Assignee (“Lender”).

 1. LOAN: On June __, 2023 (“Start Date”), Lender made available to loan, and Borrower
 borrowed up to the maximum principal amount of FIVE HUNDRED AND FIFTY THOUSAND
 THREE HUNDRED THIRTY SIX DOLLARS AND TWO CENTS ($550,336.02) of this Note in
 one or more borrowings with interest accruing on the unpaid principal balance thereof at a rate
 of EIGHT percent (8.0%) per annum, beginning at the earlier of the Start Date or the date of such
 borrowing.

 2. DUE DATE: The balance of all distributed funds under this Note, including all accrued interest,
 will be due and payable upon the earlier occurrence of the following: (i) ONE (1) year from the
 Start Date; or (ii) ONE (1) business day following receipt and sufficiency of the Deposit (as that
 term is defined in the Asset Purchase Agreement [defined, below]) due to Trustee, as Seller,
 pursuant to that certain AGREEMENT OF PURCHASE AND SALE AND JOINT ESCROW
 INSTRUCTIONS (the “Asset Purchase Agreement”), by and among Trustee and Lender, provided
 entry of a Sale Order (as that term is defined in the Asset Purchase Agreement) by the U.S.
 Bankruptcy Court ("Due Date"). Repayment of this Note will be made from the Deposit pursuant
 to the terms of this Note without objection, offset, or recourse and it is independent from any other
 agreement or the Asset Purchase Agreement. Repayment shall not be subject to any further court
 order and shall be automatically due and owing up receipt of a deposit sufficient to repay this
 Super-Priority Note. The repayment under this Super-Priority Note shall be first made to Lender
 from the deposit. At the Due Date, either in (i) or (ii), all accumulated interest shall be added to
 the payoff amount of principle plus interest. Interest shall accrue daily on the Super-Priority Note.
 In the event of a payoff before 30 days, the Lender shall receive a minimum of 30 days interest on
 the Super-Priority Note.

 3. PRIORITY: This Note, in an amount of funds distributed to the Estate, shall be entitled to
 super administrative priority pursuant 11 U.S. Code § 364 (c) (without prejudice for the Estate to
 obtain other super administrative priority loans). The super administrative priority of this Note
 will be pari passu with the debt owed to Resolution Ventures for the Two Hundred and Forty
 Thousand Dollars and No Cents ($240,000.00) that was previously loaned to the Estate but the
 first monies paid from the deposit by a Buyer to the Asset Purchase Agreement shall first go to the
 Lender of this Super-Priority Note.

 4. ALLOCATION OF PAYMENTS: Any payments made before the Due Date hall be first
 credited to interest due and any remainder will be credited to principal.

 5. WAIVER OF PRESENTMENTS: Borrower waives presentment for payment, notice of
 dishonor, protest and notice of protest.




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 6. SEVERABILITY: In the event that any provision herein is determined to be void or
 unenforceable for any reason, such determination shall not affect the validity or enforceability of
 any other provision, all of which shall remain in full force and effect.

 7. INTEGRATION: There are no verbal or other agreements which modify or affect the terms of
 this Note. This Note may not be modified or amended except by written agreement signed by
 Borrower and Lender.

 8. CONFLICTING TERMS: The terms of this Note shall control over any conflicting terms in
 any referenced agreement or document.

 9. NOTICE: Any notices required or permitted to be given hereunder shall be given in writing
 and shall be delivered (a) in person, (b) by certified mail, postage prepaid, return receipt requested,
 (c) by facsimile, or (d) by a commercial overnight courier that guarantees next day delivery and
 provides a receipt, and such notices shall be made to the parties at the addresses listed below.

 10. TRUSTEE CAPACITY. Trustee is executing this Note solely in his capacity as the
 Chapter 11 Trustee in the Bankruptcy Case and under no circumstances will Trustee or any entity
 in which he is a member, including Marshack Hays LLP, have any personal liability for this Note,
 or any obligations under this Note.

 11. VENUE AND JURISDICTION. Any dispute relating to this Note is subject to the exclusive
 jurisdiction and venue of the Bankruptcy Court where the Case is pending.

 12. GOVERNING LAW: This note shall be governed under the laws in the State of California as
 applied by the Bankruptcy Court.



 Lender                                                                 Date ___________________

 _______________________________________




 Borrower                                                               Date ___________________


 _______________________________________
 Richard A. Marshack (“Trustee”),
 solely in his capacity as the Chapter 11 Trustee of
 THE LITIGATION PRACTICE GROUP P.C.

 870 Roosevelt




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 Irvine, CA 92620




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                                   PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
 is:     655 W. Broadway, Suite 800, San Diego, California 92101

 A true and correct copy of the foregoing document entitled (specify):

 SUPPLEMENTAL DECLARATION OF RICHARD A. MARSHACK, CHAPTER 11 TRUSTEE PROVIDING COPY
 OF AMENDED NOTE AND STATUS OF TRANSFER

 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
 and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
 General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
 document. On July 3, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
 determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
 email addresses stated below:

                                                                                 Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On July 3, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
 declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                 Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
 method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 3, 2023, I
 served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
 consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
 here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
 than 24 hours after the document is filed.

                    JUDGE'S COPY
                    The Honorable Scott C. Clarkson
                    United States Bankruptcy Court
                    Central District of California
                    Ronald Reagan Federal Building and Courthouse
                    411 West Fourth Street, Suite 5130 / Courtroom 5C
                    Santa Ana, CA 92701-4593

                                                                                 Service information continued on attached page

 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


   July 3, 2023                 Caron Burke                                               /s/ Caron Burke
   Date                          Printed Name                                             Signature




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 August 2010                           F 9013-3.1.PROOF.SERVICE
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 1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

 Eric Bensamochan on behalf of Interested Party Eric Bensamochan
 eric@eblawfirm.us, G63723@notify.cincompass.com

 Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
 ron@rkbrownlaw.com

 Christopher Celentino on behalf of Plaintiff Richard A. Marshack
 christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

 Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
 christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

 Shawn M Christianson on behalf of Interested Party Courtesy NEF
 cmcintire@buchalter.com, schristianson@buchalter.com

 Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
 rbc@randallbclark.com

 Leslie A Cohen on behalf of Interested Party Courtesy NEF
 leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

 Christopher Ghio on behalf of Plaintiff Richard A. Marshack
 christopher.ghio@dinsmore.com

 Christopher Ghio on behalf of Trustee Richard A Marshack (TR)
 christopher.ghio@dinsmore.com

 Jeffrey I Golden on behalf of Interested Party Courtesy NEF
 jgolden@go2.law,
 kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;golden.j
 effreyi.b117954@notify.bestcase.com

 Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
 rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
 rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
 rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 D Edward Hays on behalf of Interested Party Courtesy NEF
 ehays@marshackhays.com,
 ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza
 @ecf.courtdrive.com


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 D Edward Hays on behalf of Trustee Richard A Marshack (TR)
 ehays@marshackhays.com,
 ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza
 @ecf.courtdrive.com

 Alan Craig Hochheiser on behalf of Creditor City Capital NY
 ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

 Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
 ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
 ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
 ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
 joon@khanglaw.com

 Ira David Kharasch on behalf of Interested Party Ad Hoc Consumer Claimants Committee
 ikharasch@pszjlaw.com

 Ira David Kharasch on behalf of Interested Party Courtesy NEF
 ikharasch@pszjlaw.com

 Nicholas A Koffroth on behalf of Creditor Committee Committee of Unsecured Creditors
 nkoffroth@foxrothschild.com, khoang@foxrothschild.com

 David S Kupetz on behalf of Defendant Marich Bein, LLC
 David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

 David S Kupetz on behalf of Interested Party Courtesy NEF
 David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

 Christopher J Langley on behalf of Interested Party Courtesy NEF
 chris@slclawoffice.com,
 omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

 Daniel A Lev on behalf of Interested Party Courtesy NEF
 daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

 Michael D Lieberman on behalf of Creditor Phillip A. Greenblatt, PLLC
 mlieberman@lipsonneilson.com

 Yosina M Lissebeck on behalf of Trustee Richard A Marshack (TR)
 ylissebeck@lissebecklaw.com, caron.burke@dinsmore.com

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 Richard A Marshack (TR)
 pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

 Laila Masud on behalf of Interested Party Courtesy NEF
 lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

 Laila Masud on behalf of Interested Party Richard A. Marshack
 lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

 Laila Masud on behalf of Plaintiff Richard Marshack
 lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

 Laila Masud on behalf of Trustee Richard A Marshack (TR)
 lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

 Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
 Kenneth.M.Misken@usdoj.gov

 Byron Z Moldo on behalf of Interested Party Byron Moldo
 bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com

 Alan I Nahmias on behalf of Interested Party Courtesy NEF
 anahmias@mbn.law, jdale@mbnlawyers.com

 Victoria Newmark on behalf of Interested Party Courtesy NEF
 vnewmark@pszjlaw.com

 Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
 queenie.k.ng@usdoj.gov

 Teri T Pham on behalf of Attorney Teri Pham
 tpham@enensteinlaw.com, 3135.002@enensteinlaw.com

 Douglas A Plazak on behalf of Defendant Greyson Law Center PC
 dplazak@rhlaw.com

 Ronald N Richards on behalf of Defendant Consumer Legal Group, PC
 ron@ronaldrichards.com, 7206828420@filings.docketbird.com

 Ronald N Richards on behalf of Interested Party Courtesy NEF
 ron@ronaldrichards.com, 7206828420@filings.docketbird.com

 Gregory M Salvato on behalf of Interested Party Courtesy NEF
 gsalvato@salvatoboufadel.com,
 calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

 Olivia Scott on behalf of Creditor Azzure Capital LLC
 olivia.scott3@bclplaw.com
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 Olivia Scott on behalf of Creditor Hi Bar Capital LLC
 olivia.scott3@bclplaw.com

 Jonathan Serrano on behalf of Plaintiff Richard A. Marshack
 jonathan.serrano@dinsmore.com

 Jonathan Serrano on behalf of Trustee Richard A Marshack (TR)
 jonathan.serrano@dinsmore.com

 Paul R Shankman on behalf of Attorney Paul R. Shankman
 PShankman@fortislaw.com, info@fortislaw.com

 Paul R Shankman on behalf of Creditor United Partnerships, LLC
 PShankman@fortislaw.com, info@fortislaw.com

 Leslie Skorheim on behalf of U.S. Trustee United States Trustee (SA)
 leslie.skorheim@usdoj.gov

 Andrew Still on behalf of Interested Party Courtesy NEF
 astill@swlaw.com, kcollins@swlaw.com

 United States Trustee (SA)
 ustpregion16.sa.ecf@usdoj.gov

 Sharon Z. Weiss on behalf of Creditor Azzure Capital LLC
 sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

 Sharon Z. Weiss on behalf of Creditor Hi Bar Capital LLC
 sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

 Johnny White on behalf of Interested Party Courtesy NEF
 JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com




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